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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA

V.                                                     CRIMINAL CASE NO.

TORY LENARD TROUP, FRANKLIN                                1:18-cr-0344-SCJ
BENSON TROUP, and RODRIGUEZ
REDDING



                                           ORDER

      This matter appears before the Court on the Non-Final Report and

Recommendation ("R&R") issued by the Honorable Catherine M. Salinas, U.S.

Magistrate Judge on March 17, 2020 (Doc. No. [234]) and the Final R&R issued by

Judge Salinas on April 16, 2020 (Doc. No. [247]).1 The Non-Final R&R (Doc. No.

[234]) addresses three motions to dismiss filed by Defendants Tory Lenard

Troup, Franklin Benson Troup, and Rodrigues Redding (Doc. Nos. [117]; [128];

[137], respectively), and a motion to suppress filed by Tory Troup (Doc. No.




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court's docketing software.
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[180]). Judge Salinas recommended that all motions be denied. Tory Troup,

Franklin Troup, and Rodrigues Reding all filed objections to the Non-Final R&R

(Doc. Nos. [257]; [256]; [259], respectively).

      The Final R&R (Doc. No. [247]) addresses four motions filed by Tory

Troup: a motion to suppress evidence obtained pursuant to a geo-location

warrant (Doc. Nos. [122]; [171]), a motion to suppress evidence obtained

pursuant to a cell data warrant (Doc. Nos. [123]; [172]), a motion to dismiss Count

I of the indictment based on the alleged illegality of the Controlled Substances

Act, 21 U.S.C. 801, et seq. ("CSA") (Doc. Nos. [132]; [173]) and a motion to dismiss

the indictment based on pre-indictment delay (Doc. No. [183]). Judge Salinas

recommended that each motion be denied. Tory Troup filed objections to the

Final R&R (Doc. No. [251]).

I.     BACKGROUND

       On September 4, 2018, a grand jury in the Northern District of Georgia

returned a two-count indictment against Defendants and three others, alleging

that they participated in a drug distribution conspiracy in violation of

21 U.S.C. § 846 and a money laundering conspiracy in violation of

18 U.S.C. § 1956. Doc. No. [1]. According to the indictment, both conspiracies

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began as early as November 2008 and continued through at least March 2018. Id.

at 1,2.

      A.       Non-Final R&R Findings and Conclusions

      The Non-Final R&R (Doc. No. [234]) addressed three motions to dismiss

filed by Defendants Tory Lenard Troup, Franklin Benson Troup, and Rodrigues

Redding (Doc. Nos. [117]; [128]; [137], respectively), and a motion to suppress

filed by Tory Troup (Doc. No. [180]).

               1.    Motions to Dismiss
          In virtually identical motions to dismiss, Defendants stated that "the

evidence in this case, particularly as demonstrated by the Rule 16 discovery, does

not allege any act within the applicable statute of limitations." Doc. Nos. [117], 1;

[128], 1; [137], 1. Although Defendants did not cite any legal basis for their

request, the Non-Final R&R construed their motions as ones brought pursuant to

Federal Rule of Criminal Procedure 12(b)(3)(B)(v), which allows a defendant to

move for dismissal prior to trial for failure to state an offense. Doc. No. [234], 2;

Fed. R. Crim. P. 12.

          The Non-Final R&R noted that the Eleventh Circuit has held when an

indictment charges violation of a conspiracy statute that does not require proof


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of an overt act, such as the statutes in this case, "the indictment satisfies the

requirements of the statute of limitations if the conspiracy is alleged to have

continued into the limitations period." Doc. No. [234], 4 (quoting United States v.

Starrett 55 F.3d 1525, 1550 (11th Cir. 1995)). Because the indictment alleges that

the conspiracies continued through at least March of 2018, "well within the five-

year statute of limitations periods for those crimes provided by 18 U.S.C. 3282,"

the Non-Final R&R found the indictment was facially sufficient. Id. at 4. It also

concluded Defendants were not entitled to an evidentiary hearing on the matter,

as this request was "invit[ing] error by asking the Court to dismiss the indictment

based on facts that may be produced at trial." Id. at 5.

             2.    Motion to Suppress

      On September 27, 2019, Tory Troup filed a motion to suppress in which he

stated:

             Troup was stopped by police officers in Michigan in
             2014. Upon information and belief, the police seized
             Troup's phone and did a cellbrite download of data
             contained in the phone. The discovery in this case
             contains evidence that could have only been obtained
             from the information contained in Troup's cell phone.
             The phone was seized without probable cause and
             without a warrant and is therefore presumptively
             subject to suppression.


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Doc. No. [180], 1. The Non-Final R&R states that On March 3, 2020, the

Government advised Judge Salinas that it does not intend to introduce any

evidence from that Michigan traffic stop at the trial of this case. Doc. No. [234], 6.

Accordingly, she found the motion to suppress should be denied as moot. Id.

      B.     Defendants' Objections

      Tory Troup, Franklin Troup, and Rodrigues Reding all filed objections to

the Non-Final R&R (Doc. Nos. [257]; [256]; [259], respectively). All three

Defendants appear to acknowledge Starrett's application to their motions. Doc.

No. [257], 1; [256], 2; [259], 2. However, Tory Troup and Rodrigues Redding argue

that Starrett "[denies] the defendant due process and equal protection of the law

under the Fifth and Fourteenth Amendments" where "in a case like this there are

significant questions as to whether or not the government has facts as will survive

a Rule 29 motion for judgment of acquitting during the trial." Doc. No. [257], 1;

[259], 5. Franklin Troup makes similar arguments, and insists he is entitled to a

bill of particulars to "try and discover what evidence the Government had to

establish that the crimes charged against him were within the applicable statute

of limitations." Doc. No. [256], 3-4.




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      Tory Troup does not raise objections relating to the Non-Final R&R's

denial of his motion to suppress as moot. See Doc. No. [257].

      C.    Final R&R Findings and Conclusions

      The Final R&R (Doc. No. [247]) addressed four motions filed by Tory

Troup: a motion to suppress evidence obtained pursuant to a geo-location

warrant (Doc. Nos. [122]; [171]), a motion to suppress evidence obtained

pursuant to a cell data warrant (Doc. Nos. [123]; [172]), a motion to dismiss Count

I of the indictment based on the alleged illegality of the CSA (Doc. Nos. [132];

[173]) and a motion to dismiss the indictment based on pre-indictment delay

(Doc. No. [183]).

             1.     Motions to Suppress

      Tory Troup moved to suppress evidence obtained pursuant to two

warrants — one signed in 2013 that required AT&T to provide geo-location data

("Geo-Location Warrant") for a cellular telephone associated with him ("the

Subject Phone"), and a second warrant signed in 2019 for the Subject Phone's

historical cell site data ("Cell Data Warrant"). Doc. Nos. [122]; [123]. In those

motions, Troup challenged the probable cause for the warrants and requested an




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evidentiary hearing. The Government responded that the motions should be

denied both for lack of standing and on the merits. Doc. No. [230].

      The Final R&R recommended that both motions to suppress be denied

because "Troup fails to allege any facts to support a reasonable expectation of

privacy in the Subject Phone." Doc. No. [247], 7. Even if he had, the R&R went on

to find that the motion to suppress should be denied on the merits, as "facts stated

in the two affidavits established probable cause to believe that the geo-location

data contained in the Subject Phone and the cell site data associated with that

phone would yield evidence showing the distribution of controlled substances

and conspiracy to distribute controlled substances." Id. at 11. It also found that

the information provided by an informant was reliable, and that certain aspects

of the source's information were independently corroborated. Id. at 11-12.

Finally, the Final R&R found that information about Troup's travel patterns was

appropriately included in the affidavit and supported the probable cause

justifying issuance of the warrants. Id. at 12-13.

             2.    Motions to Dismiss

      Tory Troup's original motion to dismiss (Doc. No. [114]) based on the

purported illegality of the GSA was largely incomprehensible and fifty-four

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pages long. Judge Salinas warned Troup's counsel that she "could not discern

what arguments Troup was trying to make" and that the brief violated the local

rule on page limitations. Doc. No. [247], 17. Counsel then withdrew it and filed

an amended version on March 25, 2019. Doc. No. [132]. The amended motion was

even longer — sixty-six pages — and "suffers from the same infirmities as the

first." Doc. No. [247], 17. At another pretrial conference, Judge Salinas advised

counsel that if Troup wanted his arguments considered, counsel must shorten

the motion and clarify the legal theories within it. Id. Troup then filed a shortened

version, the Second Amended Motion to Dismiss on September 16, 2019. Doc.

No. [173].

      The Final R&R noted that the Second Amended Motion to Dismiss on

September 16, 2019 (Doc. No. [173]) is "for the most part, still incomprehensible."

Doc. No. [247], 17. However, it construed the motion as raising two arguments:

(1) that the CSA is invalid because it was enacted through a presidential executive

order (Doc. No. [173], 1); and (2) that the offenses contained in the CSA are

unconstitutional because they fall outside of Congress's commerce power (id. at

2). The Final R&R rejected these arguments as meritless because (1) the Supreme

Court has repeatedly upheld convictions under the CSA and has noted that the

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CSA was, in fact, passed into law by Congress (Doc. No. [247], 18 (citing Gonzales

v. Raich, 545 U.S. 1,12-14 (2005))); and (2) Courts have repeatedly held that the

CSA's criminalization of drug-related conduct was properly within Congress's

commerce power (id. (citing United States v. Jackson, 111 F.3d 101,102 (11th Cir.

1997))).

      In a second motion to dismiss, Troup argues that his Fifth Amendment

right to due process has been violated by a pre-indictment delay. Doc. Nos. [183];

[220]. Troup claims that he has been harmed by the Government's decision to

wait until 2018 to indict him, even though federal agents had information about

his alleged involvement in this case at least as early as 2013 when they met with

an informant and discussed Troup's alleged drug-related activity. Doc. Nos. [183-

1], 2; [220], 1. Troup argues that he is entitled to an evidentiary hearing because

of "the length of time between the initiation of this investigation and the return

of the indictment." Doc. No. [220], 2-3.

       The Final R&R found that Troup failed to show both that he was actually

prejudiced by any delay in bringing an indictment and that the delay was

intentionally caused by the Government. Doc. No. [247], 21-22. Thus, it

concluded Troup is not entitled to a dismissal due to pre-indictment delay. Id. at

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20. It also concluded that, given the lack of allegations of actual prejudice or

intentional delay, an evidentiary hearing would "serve only as a fishing

expedition. . . ." Id. at 22.

       D.     Defendant Troup's Objections

       Tory Troup filed objections to the Final R&R (Doc. No. [251]). Troup objects

to the Final R&R's findings that the informant was reliable and that the

information provided was corroborated. Doc. No. [251], 1. He argues the

affidavits underlying the searches "merely contained nebulous allegations from

the [informant] that Troup had supplied the [informant] with 30 kilograms of

cocaine over the past two years." Id. at 2. He also argues that the informant was

not reliable because he was "promised he would not be prosecuted for any of the

alleged illegal activity that he was describing." Id. Troup also objects to the Final

R&R's conclusion that his travel patterns supported a finding of probable cause.

Id. He asks that this court reject the R&R's findings that the search warrants were

supported by probable cause. Id. He does not object to the Final R&R's findings

regarding his motions to dismiss.




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II.   LEGAL STANDARD

      Pursuant to 28 U.S.C. § 636(b)(1), the Court must conduct a de novo review

of those portions of the R&R to which Defendant has timely and specifically

objected. The Court may accept, reject, or modify, in whole or in part, the findings

and recommendations made by the magistrate judge. 28 U.S.C. § 636(b)(1);

United States v. Raddatz, 447 U.S. 667 (1980). The district judge must "read the

transcript of the hearing before a magistrate on a motion to suppress, before

adopting the magistrate's recommendation." United States v. Elsoffer, 644 F.2d

357, 358 (5th Cir. 1981) (per curiam).2

      For a party's objections to warrant de novo review, he "must clearly advise

the district court and pinpoint the specific findings that [he] disagrees with."

United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009). The Eleventh Circuit

has noted that "[p]arties filing objections to a magistrate's report and

recommendation must specifically identify those findings objected to. Frivolous,

conclusive, or general objections need not be considered by the district court."

Marsden v. Moore, 847 F.2d 1536, 1548 (11th Cir. 1988). The remainder of the


2 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), the
Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit
handed down prior to October 1, 1981.
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R&R, to which neither party offers specific objections, will be assessed for clear

error only. See Tauber v. Barnhart, 438 F.Supp.2d 1366, 1373 (N.D. Ga. 2006)

("[Tissues upon which no specific objections are raised do not so require de novo

review; the district court may therefore 'accept, reject, or modify, in whole or in

part, the findings or recommendations made by the magistrate judge[,]' applying

a clearly erroneous standard.") (quoting 28 U.S.C. § 636(b)(1)).

III.    ANALYSIS

        The Court addresses the objections to each R&R in turn.

         A.     The Court Adopts the Non-Final R&R

         First, the Court addresses the form of Defendants' motions. While

Defendants' motions mention a bill of particulars,3 Judge Salinas construed them

as motions to dismiss pursuant to Federal Rule of Criminal Procedure

12(b)(3)(B)(v), not motions pursuant to Rule 7(f). None of the three Defendants

raise any objection to this interpretation of their motions. Seeing no clear error,

the Court reviews the motions as ones to dismiss pursuant to Rule 12(b)(3)(B)(v).




3   "The court may direct the government to file a bill of particulars." Fed. R. Grim. P. 7(f).
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      Next, the Court notes that Defendants' objections to the Non-Final R&R

are both general and conclusive. Marsden, 847 F.2d at 1548. Far from pinpointing

specific findings to which they object, Defendants simply reiterate their

arguments from their motions to dismiss — that the Government lacks evidence

that the conspiracy continued into the applicable statute of limitations period.

Doc. Nos. [257], 1; [256], 5-6; [259], 4-5. They argue that the Court should require

the government to show provide evidence to establish acts within the statute of

limitations in camera, "notwithstanding the fact that conspiracies such as the ones

alleged in this indictment do not require an overt act." Doc. No. [259], 6; see also

Doc. Nos. [256], 10; [257], 1 (requesting an in camera inspection).

      The Court need not review general or conclusive objections de novo. Id.

However, even assuming Defendants' objections were properly raised, they are

due to be overruled.

      The Federal Rules of Criminal Procedure require that an indictment "be a

plain, concise, and definite written statement of the essential facts constituting

the offense charged." Fed. R. Crim. P. 7(c)(1). The Eleventh Circuit has held that

"[t]he sufficiency of a criminal indictment is determined from its face. The

indictment is sufficient if it charges in the language of the statute." United States

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v. Critzer, 951 F.2d 306, 307 (11th Cir. 1992) (per curiam). Importantly, "Nhere

is no summary judgment procedure in criminal cases. Nor do the rules provide

for a pre-trial determination of sufficiency of the evidence." Id. In addition, "an

indictment for conspiracy to commit a criminal offense need not be as specific as

a substantive count." United States v. Yonn, 702 F.2d 1341, 1348 (11th Cir. 1983)

(quoting United States v. Ramos, 666 F.2d 469, 475 (11th Cir. 1982)), cert. denied,

464 U.S. 917 (1983).

      Like the defendant in Critzer, Defendants here invite error which the Non-

Final R&R correctly refused to commit. Defendants ask this Court to address the

sufficiency of the Government's evidence on a motion to dismiss. The Federal

Rules of Criminal Procedure do not permit the Court to do so. See id. (reversing

a trial court's dismissal where the court had considered facts that the

Government stated it intended to prove at trial); see also United States v. Sharpe,

438 F.3d 1257, 1263 (11th Cir. 2006) (reversing a trial court's post-trial dismissal

where the court considered the evidence that had been presented at trial).

      Constitutional requirements are fulfilled "by an indictment that tracks the

wording of the statute, as long as the language sets forth the essential elements

of the crime." Yonn 702 F.2d at 1348. The Eleventh Circuit has held that, "[w]ith

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respect to conspiracy statutes that do not require proof of an overt act," such as

the statutes in this case/4 "the indictment satisfies the requirements of the statute

of limitations if the conspiracy is alleged to have continued into the limitations

period." Starrett, 55 F.3d at 1550 (quoting United States v. Gonzalez, 921 F.2d

1530,1548 (11th Cir. 1991)). The indictment here meets those requirements. Thus,

Defendants' objections are OVERRULED.

       B.     The Court Adopts the Final R&R

       The Court now turns to Tory Troup's Objections to the Final R&R. Doc.

Nos. [247] (Final R&R); [251] (Objections). Troup objects to the Final R&R's

findings that the informant was reliable and that the information provided was

corroborated. Doc. No. [251], 1. Troup also objects to the Final R&R's conclusion

that his travel patterns supported a finding of probable cause. Iii. He does not




4 As the Non-Final R&R noted, the two statutes at issue in this case —21 U.S.C. § 846
(drug conspiracy) and 18 U.S.C. § 1956 (money laundering conspiracy) — do not require
proof of an overt act in furtherance of the conspiracy; for purposes of those statutes, the
act of conspiring is all that is necessary. Doc. No. [234], 3; see also Whitfield v. United
States, 543 U.S. 209, 219 (2005) ("[C]onviction for conspiracy to commit money
laundering, in violation of 18 U.S.C. § 1956(h), does not require proof of an overt act in
furtherance of the conspiracy."); United States v. Shabani, 513 U.S. 10, 17 (1994) ("[P]roof
of an overt act is not required to establish a violation of 21 U.S.C. § 846.").
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raise a specific objection to the Final R&R's conclusion regarding his lack of

Fourth Amendment standing.

      Because Troup does not object to the Final R&R's factual recitation of the

warrant procedure in this case, including the content of the affidavits relied upon,

the Court adopts it in full. See Doc. No. [247], 2-6. Troup does object to the Final

R&R's legal conclusions that the informant5 was reliable and that the information

provided was corroborated. Doc. No. [251], 1. He argues the affidavits

underlying the searches "merely contained nebulous allegations from the

[informant] that Troup had supplied the [informant] with 30 kilograms of cocaine

over the past two years." Id. at 2. He also argues that the informant was not

reliable because he was "promised he would not be prosecuted for any of the

alleged illegal activity that he was describing." Id.

             1.    Applicable Legal Standard

      "The Fourth Amendment requires that a search warrant be issued only

when there is probable cause to believe that an offense has been committed and

that evidence exists at the place for which the warrant is requested." United




5It appears that the same informant's information was used as the basis for both
warrants.
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States v. Betancourt, 734 F.2d 750, 754 (11th Cir. 1984). Probable cause is not a

high bar and "requires only a probability or substantial chance of criminal

activity, not an actual showing of such activity." Paez v. Mulvey, 915 F.3d 1276,

1286 (11th Cir. 2019) (internal quotation marks and citation omitted). "[T]he task

of a reviewing court is not to conduct a de novo determination of probable cause,

but only to determine whether there is substantial evidence in the record

supporting the magistrate judge's decision to issue the warrant." United States v.

Bushay, 859 F. Supp. 2d 1335, 1379 (N.D. Ga. 2012) (citing Massachusetts v.

Upton, 466 U.S. 727, 728 (1984)). Thus, the reviewing court is to "afford 'great

deference' to the determination of a magistrate judge that a search warrant

affidavit is supported by probable cause, and we uphold the determination of the

magistrate judge so long as he 'had a substantial basis for concluding that a

search would uncover evidence of wrongdoing." United States v. Joseph, 709

F.3d 1082, 1093 (11th Cir. 2013) (quoting Illinois v. Gates, 462 U.S. 213, 236 (1983)).

             2.     The Final R&R Correctly Found that the Geo-Location
                    Warrant was Supported by Probable Cause
      The Geo-Location Warrant was supported by probable cause because the

affidavit established "a connection between the defendant and the location to be

searched; a link between the location and criminal activity; and the informant's

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veracity and basis of knowledge." United States v. Joseph, 709 F.3d 1082, 1099

(11th Cir. 2013) (internal alterations and citation omitted).

      First, the Court finds the affidavit created a sufficient connection between

the Defendant and the Subject Phone. The informant identified Troup as having

provided the informant with more than thirty kilograms of cocaine since 2011.

Doc. No. [230-2], ifi 15. The informant stated that Troup frequently changed

phones to avoid detection—however, the informant stated Troup also had a

phone, the Subject Phone, which he primarily used for social purposes. Id. ¶ 17.

The informant stated that Troup had used the Subject Phone to call him or her.

Id. ¶ 18.

       Second, the affidavit created a sufficient connection between the Subject

Phone and Criminal Activity. The informant stated this phone was always in

Troup's possession, even when he was conducting drug business. Id. IT 17. The

informant also stated that he or she was directed by Troup to call the Subject

Phone to discuss a drug debt, which he or she did. Id. it 18.

       Third, the Court finds that the information demonstrated a sufficient basis

for his or her knowledge. In September 2013, the informant was caught on the

wiretap having drug-related phone communications and agreed to provide law

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enforcement with information about drug activities. Doc. No. [230-1] ¶ 11. Thus,

the informant was connected to the kind of criminal activity at issue here. The

informant also exhibited detailed knowledge of Troup's alleged drug dealings

and his travel history. Id. ¶J 15, 16.

      The affidavit also established that the informant's information was likely

accurate. It is true that the informant was on federal supervised release at the

time and agreed to cooperate in exchange for not being prosecuted in connection

with the intercepted communications. Id. ¶¶ 12, 13. However, the Probation

Office was informed and could choose to seek revocation of the informant's

supervised release based on the conduct related to the intercepted

communications. Id. 'If 13. Thus, the informant knew that the results of the

investigation would be relayed to the Probation Office, which would trigger

negative consequences if he or she was untruthful. Even so, the informant, with

counsel present, potentially incriminated him or herself and admitted to

additional illegal activity. The Court rejects Troup's argument that the non-

prosecution agreement alone renders the informant unreliable.

       Finally, although independent police corroboration is not required for

probable cause to exist (see United States v. Brundidge, 170 F.3d 1350, 1353 (11th

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Cir. 1999)), much of the informant's information was independently

corroborated. Agents confirmed that the person referenced by the informant,

Tory Troup, was a real person with two pervious federal drug convictions. Doc.

No. [230-2], ¶ 15. Troup's trips to Texas described by the informant were also

independently confirmed by toll records from Troup's phone and by information

provided by Delta Airlines in response to a subpoena. Id. IT 19.

      Thus, the Court agrees with the Final R&R's conclusion that "[t]he facts

stated in the [affidavit] established probable cause to believe that the geo-location

data contained in the Subject Phone . . . would yield evidence showing the

distribution of controlled substances and conspiracy to distribute controlled

substances." Doc. No. [247], 11. Tory Troup's objections are OVERRULED.

             3.     The Final R&R Correctly Found the Cell Data Warrant was
                    Supported by Probable Cause

      The Cell Data Warrant was also supported by probable cause. In the

underlying affidavit for that warrant, a DEA agent stated that Troup had been

indicted by a federal grand jury on September 4, 2018 for being part of two

conspiracies that began no later than November 2008 and lasted until March

2018. Doc. No. [230-4], 1112. He reiterated some of the information used to obtain

the Geo-Location Warrant, including that Troup had supplied the informant with

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30 kilograms of cocaine, and the information regarding Troup's travel between

Atlanta and Houston. Id. If 14. The agent also stated that agents had "conducted

physical surveillance of Troup in Houston." Id.

      The affidavit goes on to state that subscriber information from AT&T for

the Subject Phone's number showed that the account had been in service since

May 2008, during which time it had been subscribed to a person named "Tory

Troup," with mailing and email addresses that are the same as those associated

with Troup. Id. ¶ 16. The affidavit states that investigators needed historical cell

site records for the time period of the conspiracies alleged in the indictment,

November 2008 through March 2018, as evidence of Troup's travel patterns and

would establish specific dates and times that Troup was in locations in

furtherance of his criminal activities. Id. ¶J 17, 18.

      For similar reasons as those stated supra, the Court finds the affidavit

sufficiently connected the Subject Phone's cell data to both Troup and criminal

activity. That Troup owned the phone was independently corroborated by AT&T

records. Id. 411 15. The address from the AT&T subscriber account was confirmed

to be the same address Troup used for his known bank accounts and business

entities. Id. 11 18. Again, his travel patterns were corroborated by airline records.


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Id. ¶ 14. This affidavit contained additional corroboration of Troup's travel: it

stated Troup had made corresponding bank account withdrawals in Houston,

and that agents had conducted physical surveillance of Troup in Houston. Id.

      Thus, the Court agrees with the Final R&R's conclusion that "[t]he facts

stated in the [affidavit] established probable cause to believe that. . • the cell site

data associated with [the Subject Phone] would yield evidence showing the

distribution of controlled substances and conspiracy to distribute controlled

substances." Doc. No. [247], 11. Tory Troup's objections are OVERRULED.

             4.     Troup's Travel Pattens were Properly Considered by the
                    Warrant-Issuing Judge

       Troup also objects to the Final R&R's conclusion that his travel patterns

supported a finding of probable cause. Doc. No. [251], 2. He argues that "none of

the information related to Troup's travel referred to any drug transaction," and

that his trips to Houston "were obviously innocent travel." Id. The Court

disagrees and finds the warrant-issuing judge properly considered Troup's travel

patterns in the probable cause analysis.

       First, the affidavits do connect Troup's travel to drug activity. Both

affidavits stated that would travel from Atlanta to Texas to acquire drugs and

ship those drugs back to his customers. Doc. Nos. [230-2], 1116; [230-4], ¶ 14. Both

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also stated Troup would wait in Texas to be paid by his customers, and then pay

his source of supply in Texas and return to Atlanta. Id. The informant's

description of this travel was corroborated by toll data (Doc. Nos. [230-2], ¶ 19),

airline records (id.), and bank account withdrawals (Doc. No. [230-4], ¶ 14). Thus,

the Court agrees with the Final R&R's conclusion that "the information about

Troup's travel patterns was appropriately included in the affidavit and

supported the probable cause justifying issuance of the warrants." Doc. No. [247],

13. Tory Troup's objections are OVERRULED.

IV.   CONCLUSION

      For the foregoing reasons, the Non-Final R&R issued on March 17, 2020

(Doc. No. [234]) is ADOPTED IN FULL. The motions to dismiss filed by

Defendants Tory Lenard Troup, Franklin Benson Troup, and Rodrigues Redding

(Doc. Nos. [117]; [128]; [137]), and a motion to suppress filed by Tory Troup (Doc.

No. [180]) are DENIED. Defendants' objections to the Non-Final R&R (Doc. Nos.

[257]; [256]; [259]) are OVERRULED.

      The Final R&R issued on April 16, 2020 (Doc. No. [247]) is also ADOPTED

IN FULL, Tory Troup's a motion to suppress evidence obtained pursuant to a

geo-location warrant (Doc. Nos. [122]; [171]), motion to suppress evidence

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obtained pursuant to a cell data warrant (Doc. Nos. [123]; [172]), motion to

dismiss Count I of the indictment based on the alleged illegality of the Controlled

Substances Act, 21 U.S.C. 801, et seq. ("CSA") (Doc. Nos. [132]; [173]), and motion

to dismiss the indictment based on pre-indictment delay (Doc. No. [183]) are

DENIED. Tory Troup's objections to the Final R&R (Doc. No. [251]) are

OVERRULED.



      IT IS SO ORDERED this         2 -4    day of May, 2021.




                                       HONORABLE STEV/1 C. JONES
                                       UNITED STATES DISTRICT JUDGE




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